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10                                   UNITED STATES DISTRICT COURT

11                                NORTHERN DISTRICT OF CALIFORNIA

12                                       SAN FRANCISCO DIVISION

13   UNITED STATES OF AMERICA,                       ) Case No. 21-CR-274 CRB
                                                     )
14           Plaintiff,                              )
                                                     ) STIPULATION AND PROPOSED ORDER
15      v.                                           ) CONTINUING HEARING
                                                     )
16   IAN BENJAMIN ROGERS,                            )
                                                     )
17           Defendant.                              )
                                                     )
18                                                   )
                                                     )
19

20           On July 8, 2021, the grand jury issued a six-count indictment charging Ian ROGERS and Jarrod
21 COPELAND with conspiring to destroy a building by arson or explosive device, weapons violations and

22 obstruction of justice. The parties made their first appearance in District Court on August 18, 2021. At

23 that time, ROGERS appeared from Napa County Jail (where he was then housed) pursuant to a federal

24 writ issued February 18, 2021. Following a series of stipulated continuances, the Court set the matter

25 for a status hearing on February 2, 2022.

26           In the past 30 days, the government has secured ROGERS’s transfer from state to federal
27 custody (with the concurrence of state authorities), conducted a “reverse proffer” for ROGERS,

28 provided ROGERS a draft plea agreement, and begun negotiations for a global resolution of all of the

     STIP. TO CONTINUE HRG                          1
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 1 charges – federal and state – ROGERS presently faces. The parties agree that additional time is needed

 2 to determine whether a resolution is possible and, if so, coordinate it with federal and state authorities.

 3 The parties also agree that ROGERS needs additional time to consider the information the government

 4 provided him during the reverse proffer.

 5          The parties therefore request that the Court continue the status hearing from February 2, 2022 to

 6 March 2, 2022. The continuance will allow the parties time to coordinate with counsel in the parallel

 7 state proceeding, and allow ROGERS time to consider the information the government provided him

 8 and its implications for his decision whether to resolve the case without a trial.

 9          For these reasons, and to allow for the effective preparation of counsel, the parties agree that the

10 ends of justice served by excluding the time from February 2, 2022 through March 2, 2022 from

11 computation under the Speedy Trial Act outweigh the best interests of the public and the defendant in a

12 speedy trial. 18 U.S.C. § 3161(h)(7)(A), (B)(iv).

13 IT IS SO STIPULATED.

14 DATED: February 2, 2022                                        Respectfully submitted,

15                                                                STEPHANIE M. HINDS
                                                                  United States Attorney
16
                                                                  ______/s/__________________
17                                                                FRANK J. RIEBLI
                                                                  ERIC CHENG
18                                                                Assistant United States Attorneys
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20
                                                                  ____/s/ Frank Riebli w/ permission__
21                                                                COLIN COOPER
                                                                  Attorney for Ian Rogers
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     STIP. TO CONTINUE HRG                            2
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 1                                          [PROPOSED] ORDER

 2          For the reasons set forth above, the Court hereby continues the status hearing in the above-

 3 captioned matter from February 2, 2022 until March 2, 2022, at 9:00 a.m. Further, to allow for the

 4 continued production of discovery and the effective preparation of counsel, the Court finds that the ends

 5 of justice served by granting the continuance outweigh the interests of the public and the defendant, and

 6 thus the Court excludes that period of time from the running of the speedy trial clock under Rule 5.1 and

 7 18 U.S.C. § 3161(b).

 8 IT IS SO ORDERED.

 9

10 DATED: February _____, 2022                                   _________________________________
                                                                 HON. CHARLES R. BREYER
11                                                               United States District Judge
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     STIP. TO CONTINUE HRG                           3
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